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May 28, 2020

ECF

Hon. Lewis J. Liman
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007

Re:    Jane Doe v. Darren K. Indyke and Richard D. Kahn, in their capacities as the
       Executors of the Estate of Jeffrey E. Epstein, 1:20-cv-02365-LJL-DCF

Dear Judge Liman:

We represent Defendants Darren K. Indyke and Richard D. Kahn, as Co-Executors of the
Estate of Jeffrey E. Epstein (together, “Defendants”), in the above-referenced action. We write
to request the Court’s approval of the parties’ agreement described below.

On May 21, 2020, subject to the Court’s approval: (1) we agreed to accept service of the
Plaintiff’s Complaint (ECF #1) on Defendants’ behalf; and (2) Plaintiff consented to Defendants
having through July 21, 2020 to answer, move or otherwise respond to Plaintiff’s Complaint and
any motion to proceed anonymously.

There have been no other requests or adjournments or extensions of time in this action.


Respectfully submitted,


s/Bennet J. Moskowitz
Bennet J. Moskowitz
